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                                                                          FILED
                      UNITED STATES DISTRICT COURT
                                                                           DEC 122013
                          DISTRICT OF MONTANA
                            BILLINGS DIVISION                           CIe11<, U,S, District Court
                                                                          District Of Montana
                                                                                 Helet1a


 UNITED STATES OF AMERICA,                    Case No. CR 13-79 -BLG-SEH

                    Plaintiff,                ACCEPTANCE OF PLEA OF
                                              GUlL TY, ADJUDICATION OF
 vs.                                          GUlL T AND NOTICE OF
                                              SENTENCING
 KERA DAWN EVANS, aka Kera
 Dawn Hoots,

                    Defendant.



       In accordance with the Findings and Recommendations ofthe United States

Magistrate Judge Carolyn S. Ostby, to which there has been no objection, and

subject to this Court's consideration ofthe Plea Agreement under Fed. R. Crim. P.

11 (c)(3), the plea of guilty of the Defendant to Count II of the Indictment is hereby

accepted. The Defendant is adjudged guilty of such count. All parties shall appear

before this Court for sentencing as dire~

       IT IS SO ORDERED this       1:< day of December, 2013.


                                       United States District Judge
